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                    IN THE UNITED STATES COURT OF FEDERAL CLAIMS

STATE OF SOUTH CAROLINA,               )
                                       )
               Plaintiff,              )
                                       )
               v.                      )           No. 18-38c
                                       )           (Judge Sweeney)
THE UNITED STATES,                     )
                                       )
               Defendant.              )




                        DEFENDANT’S REPLY IN SUPPORT OF ITS
                       CROSS-MOTION FOR SUMMARY JUDGMENT




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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS

STATE OF SOUTH CAROLINA,                     )
                                             )
                Plaintiff,                   )
                                             )
                v.                           )               No. 18-38c
                                             )               (Judge Sweeney)
THE UNITED STATES,                           )
                                             )
                Defendant.                   )
                          DEFENDANT’S REPLY
       IN SUPPORT OF ITS CROSS-MOTION FOR SUMMARY JUDGMENT

       Defendant, the United States, respectfully submits its reply in support of its cross-

motion for summary judgment. Judgment for the United States should be granted

because there is no genuine dispute of material fact and the State of South Carolina

cannot demonstrate that Congress made appropriations available to the Department of

Energy (DOE) for economic and impact assistance payments pursuant to 50 U.S.C.

§ 2566(d)(1).

       As we demonstrated in our opening brief, the State of South Carolina cannot

establish that the United States is liable for economic and impact assistance payments for

calendar years 2016 and 2017, because Congress made no appropriations available for

DOE to make any such payments. Because the United States is not liable in the absence

of available appropriations, the Court must dismiss the complaint.
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                                        ARGUMENT

I. Congress Has Not Appropriated Funds For Economic and Impact Assistance

       South Carolina’s complaint arises out of the statutes covering the Mixed-Oxide

Fuel (MOX) Fabrication Facility, currently under construction at the Savannah River Site

(SRS). Congress set forth a series of deadlines for reaching certain milestones in the

construction and operation of the MOX facility. If the MOX production objective is not

achieved on time, the statute provides that DOE must either remove defense plutonium

from SRS or make “economic and impact assistance” payments, subject to

appropriations, to South Carolina. Id. § 2566(d). The full statute provides that:

               If the MOX objective is not achieved as of January 1, 2016,
               the Secretary shall, subject to the availability of
               appropriations, pay to the State of South Carolina each year
               beginning on or after that date through 2021 for economic
               and impact assistance an amount equal to $1,000,000 per
               day, not to exceed $100,000,000 per year, until the later of
               – (A) the date on which the MOX production objective is
               achieved in such year; or (B) the date on which the
               Secretary has removed from the State of South Carolina in
               such year at least 1 metric ton of defense plutonium or
               defense plutonium materials.

50 U.S.C. § 2566(d)(1).

       Congress qualified any right to economic and impact assistance payments through

its use of the qualifier “subject to the availability of appropriations” in the statute. Thus,

the parties agree that DOE’s liability, if any, is limited to the appropriations made

available by Congress. See Pl. Resp. at 6; Greenlee County v. United States, 487 F.3d

871, 878 (Fed. Cir. 2007).

       There is also no dispute that Congress has not appropriated any funds for the

purpose of economic and impact assistance payments. The fact that Congress elected not



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to make an appropriation available for the purpose of economic and impact assistance

payments in either the Fiscal Year (FY) 2016 or FY 2017 Consolidated Appropriations

Acts (CAA) is pertinent to the Court’s inquiry. Combined with Congress’ restrictions on

DOE’s use of its appropriations, the lack of an appropriation for the purpose of economic

and impact assistance payments precludes a finding of liability.

       Congress is well aware of the status of the MOX fuel fabrication project and is

closely involved in the Nation’s plutonium disposition strategy. Congress requires DOE

to submit yearly reports concerning the status of the MOX facility construction and

whether the MOX production objective has been met. 50 U.S.C. § 2566(a); (g). Because

of sharply rising cost estimates for the MOX project, DOE’s FY 2015 budget request

proposed to place the project in cold standby, and DOE proposed to terminate the project

in both its FY 2017 and FY 2018 budget requests. Nonetheless, under the section

heading “Disposition of Weapons-Usable Plutonium” of the relevant National Defense

Authorization Acts, Congress directed DOE to continue construction of the MOX

facility. National Defense Authorization Act for Fiscal Year 2016, Pub. L. No. 114-92,

§ 3119; National Defense Authorization Act for Fiscal Year 2017, Pub. L. No. 114-328

§ 3116 1 In the explanatory statements accompanying the relevant appropriations acts,

Congress expressed its intent to limit the amount of appropriated funds that DOE may use




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           In the FY 2018 NDAA, Congress granted DOE the ability to waive the
requirement that appropriations be spent on construction of the MOX facility, provided
that the Secretary commit to removing plutonium from South Carolina and certify to
Congress that certain requirements for an alternative approach to MOX were met. Pub.
L. No. 115-91, § 3121(b)(1). On May 10, 2018, the Secretary of Energy submitted to the
congressional defense and appropriations committees the notifications pursuant to
Section 312. South Carolina has sued the Department of Energy in district court to enjoin
it from stopping construction of the MOX facility.
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to explore alternative methods of disposing of excess weapons-grade plutonium. Pl.

Appx180 (placing a $5,000,000 ceiling on spending for consideration of “dilute and

dispose alternative to” MOX facility); Pl. Appx233 (placing $15,000,000 ceiling).

       Given Congress’ close direction and oversight of the MOX project, Congress’

failure to specifically provide or authorize funds for economic and impact assistance

payments to South Carolina is highly probative of its intent. Congress is presumed to be

aware of the legislation that it has passed. See Cannon v. University of Chicago, 441

U.S. 677, 696-97 (1979). In section 313 of the Energy and Water Development

Appropriations Act, 2006, Congress amended 50 U.S.C. § 2566(d) to place a limit on

economic and impact assistance payments: such payments would only be made “subject

to the availability of appropriations.” That limitation was placed in the statute in 2005;

thus, South Carolina cannot credibly argue that the economic and impact assistance

payments are a new statutory obligation that has arisen after the appropriations acts

became effective. Pl. Resp. at 10-11.

       South Carolina suggests that Congress did not make a specific appropriation for

economic and impact assistance payments because DOE did not include specific requests

for the payments in its budget requests. Pl. Resp. at 9. Based on this fact (and making

unwarranted inferences from pending, unrelated, litigation), South Carolina accuses DOE

of acting in “bad faith.” Pl. Resp. at 1-2; 9. These accusations are unfair, and, more

importantly, unhelpful to the Court’s resolution of the dispute before it.

       To the extent South Carolina suggests that DOE had a legal duty to request

specified appropriations, South Carolina offers no support for this proposition. That

proposition, further, runs counter to the constitutional principle that Congress is the



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branch of government responsible for enacting the regular appropriations acts and other

laws that control spending and receipts. It is “for Congress to determine the purposes for

which an appropriation may be used.” PRINCIPLES OF FEDERAL APPROPRIATIONS LAW,

4th edition at 3-10 (2016) (GAO Redbook). As demonstrated by Congress’ direction to

continue construction of the MOX facility, Congress has not hesitated to direct DOE to

accomplish certain programs and goals through the appropriations process, and has not

needed a request from DOE to do so.

II.     Congress Has Specifically Restricted DOE From Using Appropriations For
        Economic and Impact Assistance Payments

        South Carolina has also failed to rebut our argument that Congress has restricted

DOE’s appropriations in a way to preclude use of those appropriations for economic and

impact assistance payments. South Carolina’s argument depends on whether DOE has

unrestricted lump sum appropriations available from which it could issue economic and

impact assistance payments. Pl. Resp. at 8; 12.

        The relevant inquiry, however, is not whether DOE has lump sum appropriations,

but whether Congress restricted the use of DOE’s appropriations in a way that precludes

use of those funds to make economic and impact assistance payments. Thus, South

Carolina’s identification of the “Defense Nuclear Nonproliferation” account in both

CAAs as a lump sum appropriation does not end the inquiry. Pl. Appx157 (2016 CAA);

Pl. Appx180 (2017 CAA).

        As we previously demonstrated, Congress has restricted DOE’s ability to use

lump sum appropriations through the incorporation by reference of the explanatory

statement control tables pursuant to § 301(d) of each of the relevant appropriations acts.

Def. Cross-Mot. at 13-14. South Carolina acknowledges the existence of § 301(d), Pl.

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Resp. at 11-12, but continues to avoid its import in reading the two appropriations acts.

Section 301 limits the availability of funds by commanding that DOE’s appropriated

funds be spent in accordance with the Congressional table: “the amounts made available

by this title shall be expended as authorized by law for the programs, projects, and

activities specified in the ‘Final Bill’ column” contained in an explanatory statement

which accompanies each Act. Pl. Appx162; Pl. Appx216.

       Section 301(d) limits not only the amounts of funds within individual

appropriations accounts, but also the purpose for which those funds may be used. The

Congressional tables in the explanatory statements identify with certainty the amounts

and purposes for which these appropriations are available and serve as legally binding

restrictions on the agency’s appropriations.

       Congress appropriated funding for Defense Nuclear Nonproliferation with the

intent that certain funds be spent on “Nonproliferation construction” at “MOX Fuel

Fabrication Facility project, SRS.” Pl. Appx195; Pl. Appx251. Congress advised that it

intended funding related to the MOX facility to be used for “construction and project

support activities.”2 Pl. Appx180 (2016 CAA); Pl. Appx233 (2017 CAA). “If a

proposed use of funds is inconsistent with the statutory language, the expenditure is

improper.” GAO Redbook (4th ed.) at 3-11. South Carolina concedes that DOE may not

lawfully use any of these funds related to the MOX facility to remit economic and impact

assistance payments. Pl. Mot. at 20 fn. 8.



       2
          “Project support activities” are defined as “activities that support the design,
long-lead equipment procurement, and site preparation of the MOX facility.” 2016
NDAA § 3119(c)(2). Economic and impact assistance payments do not qualify as
“project support activities.”


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       South Carolina continues to rely upon the “Material disposition” control line

within the Defense Nuclear Nonproliferation account. See Pl. Appx195; Pl. Appx251.

South Carolina incorrectly characterizes this control line as a lump sum appropriation. In

fact, it is best characterized as coexistent with a “program, project, or activity,”

mentioned in § 301(d), the “most specific level of budget items identified in” the CAA

and the explanatory statement accompanying the CAAs. Pl. Appx166; Pl. Appx220.

       By virtue of the incorporation by reference of the control table, Congress

restricted amounts appropriated for Defense Nuclear Nonproliferation activities at levels

of $86,584,000 and $143,833,000 in FY 2016 and FY 2017, respectively, for the

purposes of carrying out Material disposition activities. Pl. Appx195; Pl. Appx251.

Again, Congress did not provide that funds from this control line may be used for

payment of economic and impact assistance. Nor does anything in either the House or

Senate Reports accompanying the FY 16 or FY 17 appropriation acts reflect an express or

implied authorization to use the appropriated funding restricted for the Material

disposition program for economic and impact assistance payments.

       Nonetheless, South Carolina relies upon application of the “necessary expense”

doctrine to assert that such payments would be legally permissible. Pl. Resp. at 13. The

“necessary expense” doctrine “permit[s] an agency to obligate an appropriation made for

a specific object for expenses necessarily incident to accomplishing that object.” GAO

Redbook at 3-20. In order to be considered a “necessary expense,” “[t]he expenditure

must bear a logical relationship to the appropriation sought to be charged. In other

words, it must make a direct contribution to carrying out either a specific appropriation or




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an authorized agency function for which more general appropriations are available.”

GAO Redbook at 3-16.

       Thus, the Court must consider whether economic and impact assistance payments

are a necessary expense within the scope of the Material disposition control line. South

Carolina has not demonstrated that economic and impact assistance payments would

meet that requirement.

       Economic and impact assistance payments would not directly contribute to

carrying out the Material disposition control line. The purpose of the Material disposition

control line can be determined by considering DOE’s budget requests and the language in

the congressional reports accompanying each act. The purpose of the line is “disposing

of surplus weapon‐grade plutonium and highly enriched uranium (HEU) in the United

States, working with Russia to dispose of Russian surplus weapon‐grade plutonium under

the U.S.‐Russia Plutonium Management and Disposition Agreement (PMDA), directing

the international plutonium management initiative, and managing the provision of nuclear

material for peaceful uses.”3

       Economic and impact assistance payments do not directly contribute to carrying

out the purpose of the Material disposition control line. As a matter of common sense,

economic and impact assistance payments to the State would not contribute to completion

of the MOX facility, the processing of plutonium into MOX fuel, meeting the MOX




       3
         Dep’t of Energy, FY 2016 Congressional Budget Request, at 551, available at
https://www.energy.gov/sites/prod/files/2015/02/f19/FY2016BudgetVolume1_1.pdf and
Dep’t of Energy, 2017 Congressional Budget Request at 465, available at
https://www.energy.gov/sites/prod/files/2016/02/f29/FY2017BudgetVolume1.pdf
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production objective, dispositioning surplus plutonium, or managing plutonium

internationally.

       Indeed, by diverting funding from necessary non-proliferation activities, use of

the Material disposition control line would run counter to the ultimate goal of

dispositioning surplus defense plutonium from SRS. Thus, use of the Material

disposition control line to remit economic and impact assistance payments to the State of

South Carolina would not contribute directly to purpose of the control line. These critical

non-proliferation activities are necessary to national defense and to meet U.S.

commitments. As such, they plainly do not constitute merely “discretionary projects” as

South Carolina implies, such that payment of economic and impact assistance payment

could take priority. Pl. Resp. at 19; see, e.g., 50 U.S.C. § 2567(c) and (d) (requiring DOE

to “identify a disposition path” for the plutonium at SRS)).

       South Carolina suggests that the defendant has overlooked the purpose of 50

U.S.C. § 2566 in determining whether economic and impact assistance payments could

constitute a necessary expense of the Material disposition control line. Pl. Resp. at 4-5;

14. In South Carolina’s view, section 2566(d)(1)’s placement in the “Proliferation

Matters” subchapter of Title 50 reflects congressional intent that economic and impact

assistance payments “contribute to the purpose” of plutonium disposition. But Congress

did not simply appropriate unrestricted funds for defense non-proliferation or plutonium

disposal. It directed in the statute that DOE spend appropriated funds in specific ways

and in specific amounts that preclude economic and impact assistance payments. And, as

we have demonstrated, economic and impact assistance payments would not assist in

accomplishing the purpose of the Material disposition control line.



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          Even accepting that the payments would directly contribute to an authorized

agency function, there are no “general appropriations” available from which DOE could

remit economic and impact assistance payments. See Pl. Resp. at 14-15. Congress did

not leave unrestricted the Defense Nuclear Nonproliferation appropriation account.

Rather, as explained above, through section 301(d), Congress restricted the purpose and

amounts of DOE’s appropriations. And, because economic and impact assistance

payments do not directly contribute to either of the two control lines under which the

MOX project falls, the “necessary expense” doctrine does not assist South Carolina in

demonstrating that it is entitled to relief.

         Finally, through selective quotations of reports to Congress, South Carolina

suggests that DOE has previously embraced a broader scope of the purpose of the

Material disposition control line. Pl. Resp. at 18-19. Referencing a report to Congress,

South Carolina suggests that DOE stated its intent to use carryover funds from prior year

appropriations to “advance[] a number of important goals.” Pl. Resp. at 18 (citing Pl. Ex.

1 at p. 5) (emphasis added by plaintiff). The “important goals” referred to downblending

HEU, or highly enriched uranium, an activity separate and apart from the plutonium

disposition program. South Carolina’s citation is not helpful to resolution of this matter.

III.     South Carolina’s Argument Concerning Reprogramming Is Irrelevant
         In Light Of The Restrictions Congress Placed On DOE’s Appropriations

         Finally, South Carolina continues to argue that DOE had an obligation to

“reprogram” funds within the Defense Nuclear Nonproliferation Account to cover

economic and impact assistance payments. Pl. Resp. at 16. South Carolina relies upon

Thompson v. Cherokee Nation of Oklahoma, 334 F.3d 1075 (Fed. Cir. 2003) for the




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proposition that an agency is required to reprogram in order to meet debts or obligations.

Pl. Resp. at 17.

       That proposition, of course, supposes that Congress has placed no limits on

DOE’s reprogramming authority. Cherokee Nation, 334 F.3d at 1086; Lincoln v. Vigil,

508 U.S. 182, 192 (1994). As is abundantly clear, that is not the case. As South Carolina

acknowledges, the FY 2016 and FY 2017 CAAs prohibit DOE from reprogramming

funds to create, initiate, or eliminate a “program, project or activity.” 2016 CAA §

301(f)(1); 2017 CAA § 301(f)(1). Thus, DOE may shift funds (up to a certain amount)

between programs, projects, or activities, but it may not use reprogramming to create new

programs, projects, or activities.

       Congress specifically restricted the purpose of the funds identified in the “99-D-

143 Mixed Oxide (MOX) Fuel Fabrication Facility, SRS” control line to construction.

Pl. Appx180. Thus, any funds reprogrammed to that control line would be subject to that

limitation. Similarly, funds reprogrammed to the “Material disposition” control line

would still not be available for economic and impact assistance payments. DOE would

need to create a new “project, program or activity” in order to reprogram funds for

economic and impact assistance payments, which Congress has prohibited it from doing.

       Similarly, the fact that DOE had carryover funds from prior appropriations does

not necessarily mean that it may use carryover funds without restriction. See Pl. Resp. at

17-18. As we previously explained, since FY 2012, Congress has restricted how DOE

may spend its appropriations through a provision similar to § 301(d). Def. Resp. at 12-

13. Nothing in the report that South Carolina cites indicates that DOE has carryover




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funds sufficiently unrestricted such that they are available for economic and impact

assistance payments.

       South Carolina highlights $649 million in uncosted and unencumbered funds

relating to the “Defense Nuclear Nonproliferation” account to carry over from 2015 to

2016. Pl. Resp. at 18. But those funds were, and remain, subject to any restrictions

placed on them by Congress. Funds appropriated for a particular purpose may be used

for that purpose and no other. See 31 U.S.C. § 1301(a).

       By statute, Congress limited any payment of economic and impact assistance to

“the availability of appropriations.” 50 U.S.C. § 2566(d)(1). By not making

appropriations available to DOE for this purpose, Congress determined that no economic

and impact assistance should be paid to South Carolina. Congress may very well make

appropriations available for this purpose in the future, but until it does so, the United

States has no liability for any failure to pay economic and impact assistance payments.

                                      CONCLUSION

       For these reasons and the reasons identified in our cross-motion for summary

judgment, we respectfully request that the Court enter judgment in favor of the United

States and dismiss the complaint.

                                                       Respectfully Submitted,

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                                                       Director




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